     Case 2:11-cr-00050-JLQ   ECF No. 132     filed 10/11/13   PageID.468 Page 1 of 2




1


2
3
                            UNITED STATES DISTRICT COURT
4
                         EASTERN DISTRICT OF WASHINGTON
5
6      UNITED STATES OF AMERICA,
7                                                      NO. CR-11-050-JLQ-2
           Plaintiff,
8
          vs.                                          ORDER GRANTING MOTION
9                                                      TO DISMISS
10     VONNE RENKERT SCHAFER,
11         Defendant.
12
          BEFORE THE COURT is the Government's Motion for Dismissal With
13
      Prejudice (ECF No. 131). The Government seeks to dismiss the Indictment (ECF
14
      No. 25), which charged Defendant with Retaliating Against an Informant,
15
      pursuant to Fed.R.Civ.P. 48(a). The Government and the Defendant had
16
      previously entered into a Supervised Pre-Trial Diversion Agreement on October
17
      11, 2011, and the court had entered an Order thereon. (ECF No. 117). The court
18
      has been informed by the United States Probation Office that Defendant has
19
      completed supervision and the community service condition of the Agreement.
20
      The Government's Motion further states that Defendant has completed the terms of
21
      the Agreement. Accordingly,
22
            IT IS HEREBY ORDERED:
23
            1. The Government's Motion To Dismiss (ECF No. 131) is GRANTED.
24
      The court makes no judgment as to the merits or wisdom of the dismissal.
25
            2. The Clerk shall enter Judgment dismissing with prejudice the Indictment
26
      (ECF No. 25) as to Vonne Renkert Schafer.
27
            3. The Clerk shall then close this file.
28


      ORDER - 1
     Case 2:11-cr-00050-JLQ   ECF No. 132    filed 10/11/13   PageID.469 Page 2 of 2




1


2           IT IS SO ORDERED.
3           The Clerk shall enter this Order and furnish copies to counsel, to Mr.
4     Renkert Schafer, and to the United States Probation Office.
5           Dated this 11th day of October, 2013.
6                              s/ Justin L. Quackenbush
                             JUSTIN L. QUACKENBUSH
7                      SENIOR UNITED STATES DISTRICT JUDGE
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


      ORDER - 2
